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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - -        X
                                     :
UNITED STATES OF AMERICA             :
                                     :     ORDER
             - v. -                  :
                                     :     20 CR 352 (JMF)
TYMEL ABRAMS,                        :
      a/k/a “Ty,”                    :
                                     :
               Defendant.            :
- - - - - - - - - - - - -      - - X
     Upon the application      of the parties, it is hereby

     ORDERED that the conference scheduled for November 16, 2020

                 January 19, 2021
is adjourned to ________________,          2:00 p.m.
                                  2021 at ________________; and

     FURTHER ORDERED that time is excluded under the Speedy Trial

                       January 19
Act between today and ________________,   21 the Court finds that
                                        20__;

the ends of justice served by excluding such time outweighs the

interests of the defendant and the public in a speedy trial because

of the interests of the defendant and the Government in achieving

a pre-trial disposition amidst the circumstances of the ongoing

national emergency declared over the coronavirus pandemic.

     SO ORDERED

Dated:      New York, New York
                      5
            November ___, 2020
                                   ___________________________________
                                   THE HONORABLE JESSE M. FURMAN
                                   UNITED STATES DISTRICT JUDGE
                                   SOUTHERN DISTRICT OF NEW YORK
